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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   LYDIA K. ROCKEY,

                    Plaintiff,

   v.                                                CASE NO. 1:13-cv-688

   TRANSWORLD SYSTEMS INC.,

                    Defendant.


                                             COMPLAINT

                                      I.          INTRODUCTION

        1. This is an action brought by Plaintiff Lydia K. Rockey for statutory and actual
           damages, costs of the action, a reasonable attorney’s fee and all other damages
           allowed by law from Defendant for violation of the Fair Debt Collection Practices
           Act, 15 U.S.C. § 1692 et seq.

                                       II.        JURISDICTION

        2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §§
           1331 and 1337.

                                           III.    PLAINTIFF

        3. Plaintiff Lydia K. Rockey is a natural person residing in Noblesville, Indiana.

                                           IV.     DEFENDANT

        4. Defendant Transworld Systems Inc. (“Transworld”) is a for-profit foreign
           corporation with its principal place of business in Santa Rosa, California.

        5. At all times referenced herein, Transworld was operating as a debt collector as
           defined by 15 U.S.C. § 1692a(6).
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                               V.      STATEMENT OF FACTS

     6. On or about March 7, 2013, Transworld sent Plaintiff a collection letter
        attempting to collect a debt in the amount of $144.19.

     7. The debt arose from a transaction that was primarily for personal, family or
        household purposes.

     8. Plaintiff had previously paid this debt on or about February 12, 2013.

     9. Transworld collected a $7.50 fee from Plaintiff that was neither expressly
        authorized by the agreement creating the debt nor permitted by law.

                                VI.     CLAIMS FOR RELIEF

                                 A. Fair Debt Collection Practices Act

     10. Plaintiff repeats, re-alleges and incorporates by reference paragraphs one through
         nine above.

     11. Transworld violated the Fair Debt Collection Practices Act. These violations
         include, but are not limited to:

            a. Falsely representing the character, amount and legal status of a debt, in
               violation of 15 U.S.C. § 1692e; and

            b. Attempting to collect an amount not expressly authorized by the
               agreement creating the debt or permitted by law, in violation of 15 U.S.C.
               § 1692f.

     12. As a result of the violation of the Fair Debt Collection Practices Act, Transworld
         is liable to Plaintiff for her actual damages, statutory damages, costs, attorney fees
         and all other appropriate relief.

     WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in her
  favor and against Defendant in an amount that will compensate her for her actual
  damages, statutory damages, costs, attorney fees and all other appropriate relief.




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                                           Respectfully submitted,



                                           s/ Robert E. Duff
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